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                        ORIGINAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          - X


UNITED STATES OF AMERICA                         SEALED INDICTMENT

          -    V.   -                            20 Cr.

CHOLO ABDI ABDULLAH,

                         Defendant.              20CRIM 6 77
                                      -   - X




                                 COUNT ONE

  {Conspiracy to Provide Material Support to a Foreign Terrorist
                          Organization}

          The Grand Jury charges:

                                BACKGROUND

          1.        The charges in this Indictment arise out of a

coordinated scheme by the terrorist organization Harakat al-

Shabaab al-Mujahideen, commonly known as "al Shabaab," to target

Americans both at home and abroad.          Al Shabaab, which has sworn

allegiance to al Qaeda and serves as the principal wing of that

terrorist organization in East Africa, has escalated these

deadly efforts as part of al Qaeda's global campaign to target

Americans in response to the United States' decision to move its

embassy in Israel to Jerusalem in 2018.         That campaign -- which

al Shabaab and al Qaeda have dubbed "Operation Jerusalem Will

Never be Judaized" -- has culminated in multiple attacks for

which al Shabaab has publicly claimed credit and which have
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resulted in the deaths of dozens of people, including U.S.

nationals, as well as several other plots that have been foiled

by law enforcement.

             2.    CHOLO ABDI ABDULLAH, the defendant, was an al

Shabaab operative who participated in one of those foiled plots,

specifically, a plot to hijack commercial aircraft and crash

them into a building in the United States, in an attack similar

to al Qaeda's September 11, 2001 terrorist attacks against the

United States.

                                 Al Shabaab

             3.    For years, Somalia has lacked a stable central

government and has been vulnerable to intense civil and

sectarian violence.       In 2004, the Transitional Federal

Government (the "Somali TFG") was established in Somalia under

international auspices.        However, a loose coalition of violent

Islamist insurgents known as the Islamic Courts Union fought

against the Somali TFG, and took control of much of southern

Somalia.     Over time, that loose coalition emerged as the

terrorist organization known as al Shabaab.

             4.   Al Shabaab has relied on violence, including

targeted assassinations of civilians, journalists, and U.S.

military personnel, and the use of improvised explosive devices,

rockets, mortars, and automatic weapons, to undermine the Somali


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government, quell the Somali population, and force the

withdrawal of foreign troops.         Al Shabaab has declared that its

ultimate goal is the imposition of Sharia, or strict Islamic

law, throughout Somalia.

             5.    On February 26, 2008, the United States Secretary

of State designated al Shabaab as a foreign terrorist

organization ("FTO"), under Section 219 of the Immigration and

Nationality Act, as amended, and as         a   Specially Designated

Global Terrorist under Section l(b) of Executive Order 13224, as

amended.     Al Shabaab remains a designated FTO as of the filing

of this Indictment.

             6.    Since that designation, al Shabaab has made

numerous public statements demonstrating an intent to harm the

United States.      For example, after an al Shabaab member was

killed in or about May 2008, al Shabaab leaders declared that

its fighters would "hunt the U.S. government" and that

governments supporting the United States and Ethiopia should

keep their citizens out of Somalia.          On April 5, 2008, in

response to the United States Secretary of State's designation

of al Shabaab as an FTO, al Shabaab released a statement that

declared the group's intent to target the United States.

             7.    On or about February 9, 2012, al Shabaab released

a videotape which was entitled,        "From the two shaykhs, Abu-


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Zubayr and Ayman al-Zawahiri, may god protect them both," in

which "Shaykh Abu-Zubayr," the then-Emir of al Shabaab, Ahmed

Abdi Godane, a/k/a "Mukhtar Abu Zubair," swore allegiance to

Ayman al-Zawahiri, the Emir of al Qaeda who succeeded Usama bin

Laden.     In that same video, al-Zawahiri stated that al Shabaab

"will hereby merge into al Qa'ida."

             8.    Al Shabaab has focused in particular on targeting

Americans at public venues, including locations in Kenya and the

United States.      For example, on or about July 12, 2010, an al

Shabaab spokesman claimed responsibility for the suicide

bombings that took place in Kampala, Uganda, on July 11, 2010,

which killed approximately 74 people, including an American

citizen.     On or about September 25, 2013, an al Shabaab

spokesman claimed responsibility for the attack on the Westgate

shopping mall in Nairobi, Kenya, on September 21, 2013, which

killed approximately 72 people and wounded at least 175 people,

including some American citizens.          On or about February 21,

2015, an al Shabaab spokesman appeared in a video posted online

and encouraged followers of al Shabaab to conduct attacks in

shopping malls in, among other places, the United States.




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                  "Operation 'Al-Qudsu Lan Tuhawwad
                {Jerusalem will never be Judaized)'"

          9.    On or about May 14, 2018, the United States

officially relocated the U.S. diplomatic mission to Israel from

Tel Aviv to Jerusalem.

          10.   The following day, on or about May 15, 2018, al

Shabaab issued a statement online introducing the so-called

"Jerusalem Brigade."     Al Shabaab described the brigade as "a

practical response from the movement [i.e., al Shabaab] to the

decision of US president Donald Trump to transfer his embassy

from Tel Aviv to Jerusalem."     Al Shabaab claimed that the

Jerusalem Brigade was created for the purpose of "confronting

the Jews and liberating Jerusalem."

          11.   Al Shabaab has publicly claimed multiple

terrorist attacks as part of an "operation" that al Shabaab and

al Qaeda have called "Operation 'Al-Qudsu Lan Tuhawwad

(Jerusalem will never be Judaized) ,'" including an attack

perpetrated by al Shabaab on January 15, 2019 at a hotel in

Nairobi (the "Hotel Attack"), which resulted in the deaths of

U.S. Citizen-1, who was a survivor of al Qaeda's 9/11 attacks,

and approximately 20 other individuals, including the attackers;

a September 30, 2019 attack on a U.S. military facility in

Somalia; and a January 5, 2020 attack on another U.S. facility

in Kenya, in which three Americans were killed.

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             12.   During the Hotel Attack, an al Shabaab suicide

bomber detonated an explosive device directly in front of U.S.

Citizen-1, who was seated at an outdoor cafe at the hotel,

killing U.S. Citizen-1.        On or about January 15, 2019, an al

Shabaab spokesperson publicly claimed credit for the Hotel

Attack and stated that the attack was part of "Operation 'Al-

Qudsu Lan Tuhawwad (Jerusalem will never be Judaized) ,'" in

retaliation for the United States' decision to move its embassy

in Israel to Jerusalem, and that through the "operation," al

Shabaab would "targe[t] American and Zionist interests

worldwide."

                             The Aviation Plot

             13.   Beginning in at least in or about 2016, CHOLO

ABDI ABDULLAH, the defendant, searched for and consumed al

Shabaab and al Qaeda propaganda, including propaganda about al

Qaeda's 9/11 attacks on the United States.

             14.   Beginning in or about 2016, at the direction of a

senior al Shabaab commander who was responsible for, among other

things, planning the Hotel Attack, CHOLO ABDI ABDULLAH, the

defendant, sought to obtain pilot training, test flaws in

airport security, and take other steps for hijacking a civil

aircraft to use in conducting a terrorist attack on behalf of al

Shabaab.


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          15.   In or about December 2016, CHOLO ABDI ABDULLAH,

the defendant, began the process of enrolling in a flight school

in the Philippines (the "Flight School").

          16.   Between in or about 2017 and 2019, CHOLO ABDI

ABDULLAH, the defendant, attended the Flight School on various

occasions and obtained pilot's training, ultimately completing

the tests necessary to obtain his pilot's license.

          17.   While CHOLO ABDI ABDULLAH, the defendant, was

obtaining flight training at the Flight School, he conducted

research into the means and methods to hijack a commercial

airliner to conduct an attack, including, among other things,

security on commercial airliners and how to breach a cockpit

door from the outside, information about the tallest building in

a major U.S. city, and information about how to obtain a U.S.

visa.

          18.   On or about July 1, 2019, law enforcement

authorities in the Philippines detained CHOLO ABDI ABDULLAH, the

defendant, and ABDULLAH has remained in custody since that time.

                        STATUTORY ALLEGATIONS

          19.   From at least in or about 2016 through in or

about 2019, in an offense begun and committed outside of the

jurisdiction of any particular State or district of the United

States, CHOLO ABDI ABDULLAH, the defendant, and others known and


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unknown, at least one of whom is expected to be first brought to

and arrested in the Southern District of New York, knowingly and

intentionally combined, conspired, confederated, and agreed

together and with each other to knowingly provide "material

support or resources," as that term is defined in Title 18,

United States Code, Section 2339A(b), to an FTO, namely, al

Shabaab, which at all relevant times was designated as an FTO by

the United States Secretary of State .

          20.   It was a part and an object of the conspiracy

that CHOLO ABDI ABDULLAH, the defendant, and others known and

unknown, would and did knowingly provide al Shabaab with

material support and resources, including, among other things,

property, explosives, personnel, services, training, false

documentation and identification, communications equipment,

weapons, transportation, and expert advice and assistance,

knowing that al Shabaab was a designated FTO (as defined in

Title 18, United States Code, Section 2339B(g) (6)), that al

Shabaab engages and has engaged in terrorist activity (as

defined in section 212(a) (3) (B) of the Immigration and

Nationality Act), and that al Shabaab engages and has engaged in

terrorism (as defined in section 140 (d) (2) of the Foreign

Relations Authorization Act, Fiscal Years 1988 and 1989), in

violation of Title 18, United States Code, Section 2339B.


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                               Overt Acts

          21.   In furtherance of the conspiracy and to effect

the illegal object thereof, CHOLO ABDI ABDULLAH, the defendant,

and others known and unknown, committed and caused to be

committed, among others, the following overt acts :

                a.    In or about December 2016, ABDULLAH began

the process of enrolling in the Flight School in the

Philippines.

                b.    On or about October 6, 2018, ABDULLAH

visited a web page that compiled, among other things,         jihadist

propaganda about al Qaeda's attacks on September 11, 2001.

                c.    In or about December 2018, ABDULLAH

researched online, among other things, security on commercial

airliners and how to breach a cockpit door from the outside.

                d.    In or about January 2019, ABDULLAH

researched online for, among other things, information about the

tallest building in a major U.S. city.

                e.    In or about January and February 2019,

ABDULLAH researched online for, among other things, information

about aircraft hijackings and how to obtain a U.S. visa.

 (Title 18, United States Code, Sections 2339B (a) (1),       (d) (1) (C),
                     (E), and (F), and 3238.)




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                               COUNT TWO

      (Provision of Material Support to a Foreign Terrorist
                          Organization)

          The Grand Jury further charges:

          22.   The allegations contained in Paragraphs One

through Eighteen of this Indictment are repeated and realleged

as if fully set forth herein.

          23.   From at least in or about 2016 through in or

about 2019, in an offense begun and committed outside of the

jurisdiction of any particular State or district of the United

States, CHOLO ABDI ABDULLAH, the defendant, who is expected to

be first brought to and arrested in the Southern District of New

York, knowingly provided and attempted to provide umaterial

support or resources," as that term is defined in Title 18,

United States Code, Section 2339A(b), to an FTO, namely, al

Shabaab, which at all relevant times was designated as an FTO by

the United States Secretary of State, including, among other

things, personnel (including himself) and services, knowing that

al Shabaab was a designated FTO (as defined in Title 18, United

States Code, Section 2339B(g) (6)), that al Shabaab engages and

has engaged in terrorist activity (as defined in section

212(a) (3) (B) of the Immigration and Nationality Act), and that

al Shabaab engages and has engaged in terrorism (as defined in



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section 140(d) (2) of the Foreign Relations Authorization Act,

Fiscal Years 1988 and 1989).

 (Title 18, United States Code, Sections 2339B(a) (1),        (d) (1) (C),
                   (E), and (F), 3238, and 2.)

                              COUNT THREE

                (Conspiracy to Murder U.S. Nationals)

          The Grand Jury further charges:

          24.   The allegations contained in Paragraphs One

through Eighteen of this Indictment are repeated and realleged

as if fully set forth herein.

          25.   From at least in or about 2016 through in or

about 2019, in an offense begun and committed outside of the

jurisdiction of any particular State or district of the United

States, CHOLO ABDI ABDULLAH, the defendant, while outside the

United States, and others known and unknown, at least one of

whom is expected to be first brought to and arrested in the

Southern District of New York, knowingly and intentionally

combined, conspired, confederated, and agreed together and with

each other to commit killing that is murder, as that term is

defined in Title 18, United States Code, Section llll(a), of

nationals of the United States, in violation of Title 18, United

States Code, Section 2332(b).

          26.   It was a part and an object of the conspiracy

that CHOLO ABDI ABDULLAH, the defendant, and others known and

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unknown, would murder United States nationals anywhere in the

world.

                                 Overt Acts

             27.    In furtherance of the conspiracy and to effect

the illegal object thereof, CHOLO ABDI ABDULLAH, the defendant,

and others known and unknown, committed and caused to be

committed, among others, the overt acts described in Paragraph

Twenty-One of this Indictment, which are incorporated by

reference herein.

    (Title 18, United States Code, Sections 2332(b) and 3238.)

                                 COUNT FOUR

                   {Conspiracy to Commit Aircraft Piracy}

            The Grand Jury further charges:

            28.     The allegations contained in Paragraphs One

through Eighteen of this Indictment are repeated and realleged

as if fully set forth herein.

            29.     From at least in or about 2016 through in or

about 2019, in an offense begun and committed outside of the

jurisdiction of any particular State or district of the United

States, CHOLO ABDI ABDULLAH, the defendant, and others known and

unknown, at least one of whom is expected to be first brought to

and arrested in the Southern District of New York, willfully and

knowingly combined, conspired, confederated, and agreed .together


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and with each other to commit aircraft piracy, in violation of

Title 49, United States Code, Section 46502.

          30 .   It was a part and an object of the conspiracy

that CHOLO ABDI ABDULLAH, the defendant, and others known and

unknown, would seize and exercise control of an aircraft, inside

the special aircraft jurisdiction of the United States, by

force, violence, threat of force or violence, and intimidation,

and with wrongful intent.

                               Overt Acts

          31.    In furtherance of the conspiracy and to effect

the illegal object thereof, CHOLO ABDI ABDULLAH, the defendant,

and others known and unknown, committed and caused to be

committed, among others, the overt acts described in Paragraph

Twenty-One of this Indictment, which are incorporated by

reference herein.

   (Title 49, United States Code, Section 46502 and Title 18,
               United States Code, Section 3238.)

                              COUNT FIVE

                    (Conspiracy to Destroy Aircraft)

          The Grand Jury further charges:

          32.    The allegations contained in Paragraphs One

through Eighteen of this Indictment are repeated and realleged

as if fully set forth herein.




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          33.    From at least in or about 2016 through in or

about 2019, in an offense begun and committed outside of the

jurisdiction of any particular State or district of the United

States, CHOLO ABDI ABDULLAH, the defendant, and others known and

unknown, at least one of whom is expected to be first brought to

and arrested in the Southern District of New York, willfully and

knowingly combined, conspired, confederated, and agreed together

and with each other to violate Title 18, United States Code,

Section 32(a).

          34.    It was a part and an object of the conspiracy

that CHOLO ABDI ABDULLAH, the defendant, and others known and

unknown, would set fire to, damage, destroy, disable, and wreck

an aircraft in the special aircraft jurisdiction of the United

States and a civil aircraft used, operated, or employed in

interstate, overseas, or foreign air commerce, in violation of

Title 18, United States Code, Section 32(a) (1).

          35.    It was further a part and an object of the

conspiracy that CHOLO ABDI ABDULLAH, the defendant, and others

known and unknown, would interfere with or disable, with intent

to endanger the safety of any person or with a reckless

disregard for the safety of human life, anyone engaged in the

authorized operation of such aircraft, in violation of Title 18,

United States Code, Section 32(a) (5).


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                              Overt Acts

          36.   In furtherance of the conspiracy and to effect

the illegal objects thereof, CHOLO ABDI ABDULLAH, the defendant,

and others known and unknown, committed and caused to be

committed, among others, the overt acts described in Paragraph

Twenty-One of this Indictment, which are incorporated by

reference herein.

   (Title 18, United States Code, Sections 32(a) (8) and 3238.)

                               COUNT SIX

  (Conspiracy to Commit Acts of Terrorism Transcending National
                           Boundaries)

          The Grand Jury further charges:

          37.   The allegations contained in Paragraphs One

through Eighteen of this Indictment are repeated and realleged

as if fully set forth herein.

          38.   From in or about 2016 through in or about 2019,

in an offense begun and committed outside of the jurisdiction of

any particular State or district of the United States, CHOLO

ABDI ABDULLAH, the defendant, and others known and unknown, at

least one of whom is expected to be first brought to and

arrested in the Southern District of New York, willfully and

knowingly combined, conspired, confederated, and agreed, in an

offense involving conduct transcending national boundaries, to

kill, maim, commit an assault resulting in serious bodily

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injury, and assault with a dangerous weapon persons within the

United States, and to create a substantial risk of serious

bodily injury to another person by destroying and damaging a

structure, conveyance, and other real or personal property

within the United States, in violation of the laws of the United

States, namely, Title 18, United States Code, Sections 32

(conspiring to destroy aircraft), 2332 (conspiring to murder

U.S. nationals), 2339B (conspiring and providing material

support to a foreign terrorist organization), and Title 49,

United States Code, Section 46502 (conspiring to commit aircraft

piracy), and (i) the mail and facilities of interstate and

foreign commerce, including the Internet, were used in

furtherance of the offense, and (ii) the offense and the results

of the offense would have affected interstate and foreign

commerce, in violation of Title 18, United States Code, Section

2332b(a) (2).

                               Overt Acts

           39.   In furtherance of the conspiracy and to effect

the illegal object thereof, CHOLO ABDI ABDULLAH, the defendant,

and others known and unknown, committed and caused to be

committed, among others, the overt acts described in Paragraph




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Twenty-One of this Indictment, which are incorporated by

reference herein.

  (Title 18, United States Code, Sections 2332b(a) (2) and 3238.)

                          FORFEITURE ALLEGATIONS

          40.   As a result of planning and perpetrating Federal

crimes of terrorism against the United States, as alleged in

Counts One through Six of this Indictment, CHOLO ABDI ABDULLAH,

the defendant, shall forfeit to the United States, pursuant to

Title 18, United States Code, Sections 981(a) (1) (G) and

2332b(g) (5), and Title 28, United States Code, Section 2461:

          a.    all     right,       title,      and    interest       in       all   assets,

                foreign and domestic;

          b.    all   right,         title,      and    interest       in       all   assets,

                foreign        and     domestic,         affording          a    source    of

                influence over al Shabaab;

          c.    all     right,       title      and    interest        in       all   assets,

                foreign and domestic, acquired and maintained with

                the   intent         and   for    the        purpose   of       supporting,

                planning,        conducting,           and    concealing          a   Federal

                crime     of     terrorism        against       the    United         States,

                citizens and residents of the United States,                              and

                their property; and




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             d.     all     right,     title     and    interest       in   all   assets,

                    foreign and domestic,              derived from,        involved in,

                    and used and intended to be used to commit a Federal

                    crime     of     terrorism    against        the   United     States,

                    citizens and residents of the United States,                       and

                    their property;

including,    but not limited to,           a sum of money representing the

value   of    the   property         described    above     as    being      subject    to

forfeiture.

     (Title 18, United States Code, Sections 981(a) (1) (G) and
  2332b(g) (5), and Title 28, United States Code, Section 2461.)




                                                 AUDREY S   USS
                                                 Acting   U
                                                          il:d States Attorney




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         Form No. USA-33s-274 (Ed. 9-25-58)



             UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


               UNITED STATES OF AMERICA

                             v.

                 CHOLO ABDI ABDULLAH,

                                         Defendant.


                   SEALED INDICTMENT

                         20 Cr.

        (18 U. S.C. §§ 32, 2332, 2332b, 2339B,
            3238 & 2; 49 U.S.C . § A6502.)



                                 AUDREY STRAUSS
                 Acting United States Attorney.


                         A TRUE BILL




          ~          ~                  Foreperson.
